Case 2:05-cr-20164-.]DB Document 8 Filed 06/16/05 Page 1 of 4 Page|D 6

 

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-V- Case No. 2:05cr20164-1B

TERESA FLEMING

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT lS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directedl The defendant shall next appear for Sentencing in the United States Courthouse and
Federal Buiiding in Courtroom 1 on Wednesday, August 3, 2005, at 1:30 p.m.

ADD|TIONAL CONDlTlONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financial Conditions
0 report as directed by the Pretrial Services Office.

0 Abide by the following restrictions on personal association, place of abode, or travel: Defendant is restricted
in residence and travel to the Western District of Tennessee.

0 Refrain from possessing a firearm, destructive device, or other dangerous weapon

0 Report as soon as possible, to the Pretrial Services Office any contact with law enforcement personnel.
including, but not limited to, any arrest, questioning or traffic stop.

0 Other:

 

 

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AO 199A OrderSet\ing Condnions ot P.elease WifH`Ru|g 55 and/br 32{b) FRCFP U['l é"’ l‘ &`{ O~S,

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Case 2:05-cr-20164-.]DB Document 8 Filed 06/16/05 Page 2 of 4 Page|D 7

 

ADV|CE OF PENALT|ES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a wairant for
your arrest1 a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment a fine, or both.

The commission of a Federal offense While on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes ita crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigationl It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than 5250,000 or imprisoned riot more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. in addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDG|V|ENT OF DEFENDANT

l acknowledge that I am the defendant in this case and that I am aware of the conditions of release, I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposedl lam aware

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Signature of D't§?endant

Teresa Flemin g

4672 I.indawood Lane
Memphis, TN 38128
901-388»2772

AO 199A Order Setting Condiiions 01 Re|ease ‘2"

Case 2:05-cr-20164-.]DB Document 8 Filed 06/16/05 Page 3 of 4 Page|D 8

DlRECT|ONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processingl

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release, The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in

custody. _
Date; Aprii 27, 2005 Dr/__M
J. DANIEL BRB§N
UNITED sTATEs DISTRlCT JUDGE

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AO JSBA Order Settlng Cond:`tions of Reiease 43-

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20164 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

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Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

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Honorable J. Breen
US DISTRICT COURT

